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 6                     IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   Carlos Daniel Travieso,                      No. CV-20-00523-PHX-SMB
10                Plaintiff,                      ORDER
11   v.
12   Glock GesmbH, et al.,
13                Defendants.
14
15         The Court having considered Plaintiff’s Unopposed Motion to Reopen the Case as
16   to Defendant Glock GMBH (Doc. 45),
17         IT IS ORDERED that the Motion is GRANTED.
18         Dated this 29th day of April, 2021.
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